        Case 6:22-cv-01180-DCJ-CBW Document 1-1 Filed 05/03/22 Page 1 of 4 PageID #: 6                                                                             0~


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                                                                                                                                                D206557


                                 CITATION FOR PETITION
KOLEMAN FINKELSTEIN                                          27TH JUDICIAL DISTRICT

VS                                                            DOCKET NUMBER: C-2210413 B

THE OLD EVANGELINE                                            ST LANDRY PARISH, LOUISIANA
DOWNS, LLC

THE OLD EVANGELINE DOWNS, LLC THROUGH ITS REGISTERED AGEN'r CORPORATION
SERVICE COlVIPANY                           Parish of EAST BATON ROUGE
501 LOUISIANA AVE -
BATON ROUGE, LA 70802


      You are named as a defendant in the above captioned matter. Attached to this citation is a certified copy
of: PETITION FOR DAMAGES.

         You must either comply with the demand contained in the petition or make and appearance either by
filling an answer or other pleading in the 27TH JUDICIAL DISTRICT located at 118 South Court Street,
Opelousas, LA 70570 within the delay provided in the Article 1001 of the Louisiana Code of Civil Procedure
under penalty of default.
        Article 1001 of the Louisiana Code of Civil Procedure states:
        A. A defendant shall file his answer within twenty-one (21) days after service of Citation upon him, except as otherwise
            provided by law.

             If the plaintiff files and serves a Discovery Request with his Petition, the defendant shall file his answer to the petition
             with thirty (30) days after service of the amended petition.

        B. When an Exception is filed prior to Answer and is overruled or referred to the merits, or is sustained and an Amendment
           of the Petition ordered, the Answer shall be filed within fifteen (15) days after the exception is overruled or referred to
           the merits, or fifteen.(15) days after service of the Amended Petition.

         C. The Court may grant additional time for answering.

         Article 1151 of the Louisiana Code of Civil Procedure provides in pertinent part:
         A defendant shall plead in response to an Amended Petition within the time remaining for pleading to the Original Pleading
or with ten (10) days after service of the Amended Petition, whichever period is longer, unless the time is extended under Article
1001.

                 THE CLERK OF COURT'S STAFF CANNOT PROVIDE LEGAL ADVICE.
       This Citation was issues by the Clerk for the Court for the 27TH JUDICIAL DISTRICT Judicial District
Court on the 23RD DAY OF MARCH, 2022.




                                                                  ST LANDRY PARISH DEPUTY CLERK FOR
                                                                  CHARLES JAGNEAUX, CLERK OF COURT

REQUESTED BY: BONIN, ALEXANDRE E



                                                               SERVICE




                                                                                     Exhibit A to Notice of Removal
       Case 6:22-cv-01180-DCJ-CBW Document 1-1 Filed 05/03/22 Page 2 of 4 PageID #: 7




                       27`i' JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. LANDRY
                                            STATE OF LOUISIANA

              NO.                                                                         DIVISION                                                    SECTION

                                                                KOLEMAN R. FINKELSTEIN

                                                                                           VERSUS
                                                 THE OLD EVANGELINE DOWNS LLC

              FILED:
                                                                                                                      Deputy Clerk

                                                                 PETITION FOR DAIVIAGES

                    The petition of Koleman R. Finkelstein (herein after referred to as "Dr. Finkelstein," or

            "Petitioner"), a person of age and a resident of the State of Louisiana respectfully represents:

                                                                                                1.

                    The defendant herein is:

                    1. THE OLD EVANGELINE DOWNS, LLC (hereinafler referred to as
                       "Evangeline Downs" or collectively with the otlier defendants as
                       "Defendants"), at all times material hereto a foreign corporation licensed to do
                       and doing business in the State of Louisiana and within the jurisdiction of this
                       Honorable Court;

                                                                                                2.

                    The defendant is liable to petitioner on account of the following:

                                                                                                3.                              St Landry Parish                                            C-2210413
                                                                                                                           Filed Mar 22, 2022 4:27 PM                                           B
                                                                                                                                 Rondra Shelvin
                    Venue is proper in accordance with La. C.C.P. art. 74.                                                    DePuty Clerk of Court
                                                                                                                      E-File Received Mar 22, 2022 3:03 PM

                                                                                                4.

                    On or about March 30, 2021, your petitioner was visiting Evangeline Downs located at

            2235 Creswell Lane in Opelousas, Louisiana as an invited guest of Defendants.

                                                                                                5.

                    While Dr. Finkelstein was on the above-named properry, he slipped and fell causing him

            to be injured.

                                                                                                6.

                    On information and belief, Evangeline Downs owned, operated, maintained, supervised

            and/or had garde of the business and its premises and immovable property, including the floor in

            question, and are responsible for all conditions in and/or on the premises as well as any and all

            negligent acts of the owners, manager and/or employees of the business in question.




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a~.   Certified True and
                                                                                                                                                                              Generated Date:
        Correct Copy                                                                         St. Landry Parish
                                                                                                                                                                            3/23/2022 10:51 AM
~     CertID:2022032300060                                                                 Deputy Clerk of Court



                                                                                                                   Exhibit A to Notice of Removal
                             Alteratlon and subsequent re-filing of this certified copy may violale La. R.S. 14:132, 133, and/or RPC Rule 3.3(a)(3).
          Case 6:22-cv-01180-DCJ-CBW Document 1-1 Filed 05/03/22 Page 3 of 4 PageID #: 8




                                                                                                          7.

                            Dr. Finkelstein's accident and injuries were caused due to the fault and neglect of

               Defendants in creating and/or failing to remedy or repair an unreasonably dangerous condition in

               and/or on the premises which include, but are not limited to, the following:

                            a. An unreasonably dangerously and excessively slippery floor which was known to be

                            slippery, which condition caused plaintiff's aeeident.

                            b. Other conditions as will be shown at the tri.al of this matter.

                                                                                                           S.

                            On inforrnation and belief, the defendant knew or should have known of the then existing

                defect which caused the damage, the damage could have been prevented by the exercise of

                reasonable care, and that they failed to exercise such reasonable care.

                                                                                                          9.

                            Plaintiff further submits that the accident was caused by the fault and neglect of Defenda.nt

                in the following non-exclusive manner:

                            a. Failing to maintain a reasonably safe place for customers;

                            b. Failing to properly maintain, inspect and supervise the premises;

                            c. Faiiing to take necessary measures to protect the safety of customer;

                            d. Failing to warn customers of the da.ngerous condition of the premises;

                            e. Failing to take reasonable steps to prevent this accident;

                            f. Creating an unreasonably dangerous condition and/or failing to repair it;

                            g. Failing to take reasonable actions to cure the defect in or on the premises;

                            h. Allowing an unreasonably dangerous condition to exist on the premises;

                            i. Failing to _see what they should have seen; and

                            j_ Other acts of negligence which will be shown at the trial of this matter.

                                                                                                          10.

                            On information and belief, the injuries to your petitioner were caused by the reckless and/or

                negligent actions of defendant.

                                                                                                          11.

                            As a result of his fall, your petitioner was caused to sustain substantial bodily injury, all of

                which will be shown at the trial of this matter, including new injuries and aggravation of




         __ _ ...._._...__ __ _ _ .            _...__. ~... _ _..__..__...._........_......_.. .. _          ~~               _.- ---   ---- --- -- - _........._.... ...... _                            ..
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                                                                                                                              Exhibit A to Notice of Removal
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  Case 6:22-cv-01180-DCJ-CBW Document 1-1 Filed 05/03/22 Page 4 of 4 PageID #: 9


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               Your.petiti'onex's damages:'on ac:courit ;of the ~ault of the defendant; iriclucies; past, preseiit

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      earwng; capaeifiy;. a1I of which are: specially plead.e.cl.

               WHEREFORE,., your petitioner prays that :after all due proceedirigs: therP he juclgment
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      damages; and for't1ie. costs-,of these:;pi;oceedings.


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      Corporation:Sezvice C.oriipaxiy
     $;01 L"ouisiaria;Ave.
     $'aton Rouge; I..A 708;Q2:




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   Correct Copy                                                          St. Landry Parish
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CertlD: 2022032300060                                                   Deputy Clerk of Court



                                                                                                     Exhibit A to Notice of Removal
                        Alteration and subsequent re-filing of this certified copy may violate La. R.S. 14:132, 133, and/or RPC Rule 3.3(a)(3).
